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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                   4:10CR3054
                                           )
           v.                              )
                                           )        MEMORANDUM AND ORDER
BANS TSANH TRUONG,                         )
                                           )
                  Defendants.              )

     Pursuant to the discussions with counsel during the status conference held today,

     IT IS ORDERED:

     1)    On or before December 9, 2010, defendant’s counsel, Joel Lonowski shall
           advise the court as to whether the defendant wishes to enter a plea of guilty,
           or whether the case should be set for trial.

     2)    The ends of justice will be served by allowing the defendant additional time
           for case preparation and investigation, and the justice served by granting this
           extension of time outweighs the interests of the public and the defendant in a
           speedy trial. Accordingly, the time between today’s date and December 9,
           2010, shall be deemed excluded time in any computation of time under the
           requirements of the Speedy Trial Act, for the reason that the parties require
           additional time to adequately prepare the case, taking into consideration the
           due diligence of counsel, the novelty and complexity of the case, and the fact
           that the failure to grant additional time might result in a miscarriage of justice.
           18 U.S.C. § 3161(h)(7)(A) & (B).

     3)    The clerk shall set a case management deadline for December 9, 2010 to set
           either a plea hearing or a trial date.

     DATED this 23rd day of November, 2010.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
